                 IN THE UNITED STATES DISTRICT COURT

          FOR THE EASTERN DISTRICT OF NORTH CAROLINA

                               SOUTHERN DIVISION


 ENVIRONMENTAL JUSTICE COMMUNITY
 ACTION NETWORK,

                      Plaintiff,

 V.

 GFL ENVIRONMENTAL, INC.; SAMPSON                   Civil Action No. 7:24-CV-831
 COUNTY    DISPOSAL,   LLC; WASTE
 INDUSTRIES,   USA,   LLC;  WASTE
 INDUSTRIES,  LLC;   BLACK  CREEK
 RENEWABLE ENERGY, LLC,

                      Defendants.


                                   CONSENT DECREE

This Consent Decree is entered by and between Environmental Justice Community

Action Network ("EJCAN", or "Plaintiff'') and Sampson County Disposal, LLC and

its parent and affiliated companies, Waste Industries, USA, LLC; Waste Industries,

LLC; Black Creek Renewable Energy, LLC, and GFL Environmental, Inc. (together

"GFL", or "Defendants"). Plaintiff and Defendants, as parties to this Consent

Decree, are collectively referred to herein as the "Parties" or individually as a

"Party." Capitalized terms used and not otherwise defined in the body of this Consent

Decree shall have the meaning set forth in Article III.



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                                  I.      RECITALS

         WHEREAS, Plaintiff EJCAN is a North Carolina non-profit member

organization based in Sampson County, North Carolina, dedicated to achieving

environmental justice and providing technical, legal, educational, and funding

resources to Sampson County communities facing environmental problems; and

EJCAN has members who live, work, or regularly visit family and friends in the

unincorporated community of Snow Hill, located in Roseboro, North Carolina;

         WHEREAS, Defendant GFL owns and operates the Landfill, which includes

municipal solid waste and construction and demolition waste units, and is sited in

the Snow Hill Community;

         WHEREAS, PFAS chemicals are used in a large number of consumer

products and industrial applications, including cookware, food packaging, stain

repellant fabrics and carpeting, and fire-fighting foam, among others, which

materials are typically disposed of in permitted solid waste landfills;

         WHEREAS, GFL contends that the Chemours Company's Fayetteville

facility was a customer of the Landfill that did not disclose that its waste contained

significant amounts of PFAS, specifically Gen-X chemicals, until such information

became public in 2018, at which point the Landfill voluntarily ceased accepting such

waste;



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       WHEREAS, GFL contends that beginning in 2019 and continuing to the

present, GFL has worked with DEQ to address potential environmental impacts

associated with the Landfill's receipt of the PFAS-containing waste, including the

Chemours waste, and has also undertaken additional measures to address those

potential impacts;

      WHEREAS, on April 10, 2024, the EPA, based on its review of the best

available health effects data and its determination that PFAS exposure may result in

adverse health effects and illness, issued a final rule establishing maximum

contaminant levels, or MCLs, for certain PFAS compounds in public drinking water

systems, including individual numeric MCLs for five PFAS: PFOA, PFOS, PFHxS,

PFNA, and HFPO-DA (GenX);

      WHEREAS, on February 13, 2024, EJCAN sent GFL and other requisite

persons and entities a Notice of Intent to Sue for Violations of the Resource

Conservation and Recovery Act ("RCRA NOI"). EJCAN alleged that GFL's past and

present handling, storage, treatment, or disposal of PFAS-laden solid waste-

including operation of landfill flares that combust PFAS-laden landfill gas; a

leachate evaporator that superheated PFAS-laden landfill leachate and released its

constituents into the air; and various surface water and groundwater discharges-

had contaminated the air and water, including Bearskin Swamp-a popular

recreation and fishing area-and several private drinking water wells in the Snow

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Hill community, with PFAS, and thus poses an imminent and substantial

endangerment to the health of people living in and around the Snow Hill community

and the environment in violation ofRCRA;

      WHEREAS, on May 7, 2024, EJCAN sent GFL and other requisite persons

and entities a Notice of Intent to Sue for Violations of the Clean Water Act ("CWA

NOI"). EJCAN alleged that GFL had and continued to discharge PFAS through the

Sampson County Landfill 's Groundwater Gravity Intercept system, leachate

collection system, drainage channels, and other conveyances, into Bearskin Swamp,

a water of the United States, without a National Pollutant Discharge Elimination

System Permit in violation of the CWA; and that GFL's past and ongoing discharge

of PFAS through its stormwater outfalls into Bearskin Swamp violated its Certificate

of Coverage under North Carolina NPDES General Stormwater Permit for Landfills,

NCG 120054, and the CWA;

      WHEREAS, on August 30, 2024, EJCAN filed a Complaint against GFL in

the United States District Court for the Eastern District of North Carolina, alleging,

inter alia, that GFL's treatment, storage, and disposal of PFAS-laden solid waste

contaminated surface water, groundwater, and residential drinking water wells in the

Snow Hill community and that these waste management practices may present an

imminent and substantial endangerment to human health and the environment in

violation of Section 7002 ofRCRA, 42 U.S.C. § 6972(a)(l)(B); that GFL's discharge

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    of PFAS from GGI Outfall 1, GGI Outfall 2, SW-4, SW-5, and through other

    conveyances and groundwater transport into Bearskin Swamp violated Section 301

of the CWA, 33 U.S.C. § 13 ll(a), which prohibits discharges of pollutants to waters

of the United States without a NPDES permit; and that GFL's discharge of PFAS

into Bearskin Swamp through Stonnwater Outfalls 1, 2, 3, 4, 5, 6, and 10 violated

GFL's Certificate of Coverage under North Carolina's stormwater general permit for

landfills, and therefore violated the Clean Water Act, 33 U.S.C. § 131 l(a);

         WHEREAS, GFL (a) denies all allegations and alleged violations made in

both theRCRANOI and CWANOI, and the Complaint, and admits no liability, fault,

or wrongdoing of any kind arising out of Plaintiff's allegations herein or in the

Litigation, and (b) believes that the alleged environmental matters at issue should be

addressed in a cooperative manner with the NC DEQ and other stakeholders rather

than through the litigation process;

         WHEREAS, the United States "encourages citizen suit parties, in reaching

proposed consent judgments, to consider environmental justice considerations and

any disproportionate impacts on communities that may be involved in the alleged

violations." 1;




1
 U.S. Dep't of Justice, Notification on Receipt ofa Clean Air Act or Clean Water Act Citizen Suit Complaint 4 (last
updated Jan. 2022), https://perma.cc/C6L2-FST6.

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       WHEREAS, a copy of this proposed Consent Decree was received by the

Attorney General of the United States and the EPA Administrator more than forty-

five (45) days before entry of the proposed Consent Decree by the Court as required

by 33 U.S.C. § 1365(c)(3); and

       WHEREAS, the Parties recognize, and the Court by entering this Consent

Decree finds, that this Consent Decree has been negotiated by the Parties in good

faith and will avoid prolonged litigation between the Parties; this Consent Decree

is fair, reasonable, and in the public interest; and the relief proposed is within the

scope of the Litigation, furthers the objectives of the CWA and RCRA, and does

not violate either statute.

  NOW THEREFORE, WITHOUT THE TRIAL OR ADJUDICATION OF
   ANY ISSUE OF FACT OR LAW AND WITHOUT ADMISSION BY
 DEFENDANTS OF ANY VIOLATIONS OR WRONGDOING, AND UPON
   CONSENT AND AGREEMENT OF THE PARTIES, IT IS HEREBY
      ORDERED, ADJUDGED AND DECREED AS FOLLOWS:


                       II.    JURISDICTION AND VENUE


       1.    This Court has subject matter jurisdiction over the Litigation pursuant

             to Section 505(a) of the CWA, 33 U.S.C. § 1365(a), Section

              7002(a)(l)(B) of RCRA, 42 U.S.C. § 6972(a)(l)(B), and 28 U.S.C. §

              1331.




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      2.     For purposes of entry of this Consent Decree and any action to enforce

             this Consent Decree, GFL consents to this Court's jurisdiction.

      3.    Venue is proper in the United States District Court for the Eastern

            District of North Carolina pursuant to 33 U.S.C. § 1365(c)(l), 42

            U.S.C. § 6972(a)(2), and 28 U.S.C. § 1391(b).


                              III.    DEFINITIONS

Whenever the terms listed below are used in this Consent Decree or in any attached

Appendix, the following definitions will apply:

      4.    "Bearskin Swamp" means the tributary ofthe Little Coharie Creek (also

            known as the "Little Coharie River") and part of the Cape Fear River

            Basin that flows along the Eastern border of the Landfill and through

            portions of the Snow Hill Community.

      5.    "Clean Water Act" or "CWA" means the federal law governmg

            pollution control and water quality, codified at 33 U.S.C. § 1251 et seq.

      6.    "Community Landfill Website" means the public-facing website

            maintained and updated by GFL containing information regarding

            emissions data, emergency alerts, and community complaints and

            GFL's responses to those concerns as set forth herein.



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7.    "DEQ" means the North Carolina Department of Environmental

      Quality.

8.    "Effective Date" means the date upon which the approval of this

      Consent Decree is recorded on the Court's docket.

9.    "EPA" means the United States Environmental Protection Agency.

10.   "EPA limit of quantitation" has the same meaning as "reporting limit"

      and "minimum level," and means the lowest detectable level at which

      the concentration of a pollutant in a medium can be quantified using

      EPA Method 537.1.

11.   "GenX chemicals" means hexafluoropropylene oxide dimer acid

      ("HFPO-DA") and its ammonium salt. In the context ofMCLs, "GenX"

      refers specifically to the concentration ofHFPO-DA.

12.   "GFL" means GFL Environmental Inc. and its indirect wholly-owned

      subsidiaries, Sampson County Disposal, LLC, Waste Industries USA,

      LLC, Black Creek Renewable Energy, LLC, and Waste Industries,

      LLC; provided, however, that the sole permit holder of the Landfill is

      Sampson County Disposal, LLC, and inclusion of additional GFL

      entities is not intended to be a statement on the appropriateness or lack




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               of appropriateness of their inclusion in the matters set forth herein or in

               the Litigation.

       13.     "Gravity Groundwater Intercept" or "GGI" system means the series of

               trenches that intercept and gravity drain groundwater underneath the

               liner system of the Landfill to sumps, which connect via a discharge

               line to outfalls that discharge into Bearskin Swamp.2

       14.     "GGI Outfall!" is the southernmost outfall of the GGI system, located

               at approximately 34.981522, -78.450461.

       15.     "GGI Outfall 2" is the northernmost outfall of the GGI system, located

               at approximately 34.986443, -78.458161. Together, GGI Outfall ! and

               GGI Outfall 2 are "the GGI Outfalls."

       16.     "Leachate" means a liquid that has passed through or emerged from

               solid waste and contains soluble, suspended, or miscible materials

               removed from such waste. See 40 CFR 258.2.

        17.    "Litigation" means the Complaint filed by Plaintiff on August 30, 2024.

        18.    "Maximum Contaminant Level" or "MCL" means the legal threshold

               limit of the concentration of a substance that is allowed in public



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  See, e.g. , Letter from John R. Fearrington & Joan A. Smyth, Smith Gardner Inc., to Elizabeth Werner,
Hydrogeologist, N.C. Dep't ofEnv't Quality (May 5, 2017), https://perma.cc/C4BD-D8MN.

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       drinking water systems under the Safe Drinking Water Act and the

       National Primary Drinking Water Regulations, as set by EPA. The

       current MCLs are 4.0 nanograms per liter or parts per trillion (ppt) for

       PFOA, 4.0 ppt for PFOS, 10 ppt for PFHxS, 10 ppt for PFNA, and 10

       ppt for HPFO-DA ("GenX chemicals"). As used in this document,

       "MCLs" refers to the concentrations in this paragraph, and the levels

       shall remain applicable even if the underlying EPA action upon which

       they are based is rescinded, set aside, vacated, or otherwise becomes

       ineffective.

 19.   "National Pollutant Discharge Elimination System Permit" or "NPDES

       Permit" means a permit issued pursuant to the Clean Water Act

       authorizing discharges into waters of the United States.

 20.   "Operational Life" means the time period during which the Landfill is

       actively accepting solid waste for disposal at the Landfill. The

       Landfill's operational life will be over when it permanently ceases to

       accept all solid waste for disposal at the Landfill.

 21.   "PFAS" means per- and polyfluoroalkyl substances.




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        22.      "PFAS Work Plan" means the documents, approved by DEQ, that

                 outline GFL's procedures and plans to analyze soil, groundwater, GGI

                 discharges, surface water, and leachate for PFAS. 3

        23.      "PFOA" means Perfluorooctanoic acid or such other chemical

                 definition recognized by EPA.

        24.      "PFOS" means Perfluorooctane sulfonic acid or such other chemical

                 definition recognized by EPA.

        25.      "PFNA" means Perfluorononanoic acid or such other chemical

                 definition recognized by EPA.

        26.      "PFHxS" means Perfluorohexanesulfonic acid or such other chemical

                 definition recognized by EPA.

        27.      "Resource Conservation and Recovery Act" or "RCRA" means the

                 federal law governing the management of solid and hazardous waste,

                 codified at 42 U.S.C. § 6901 et seq.

        28.      "Sampson County Landfill" or "the Landfill" refers to all closed and

                 active waste cells maintained by GFL under NC Solid Waste Permit


3 See (I) GFL's June 28, 2023 Response to Comments and Revised PFAS Work Plan for PFAS Sampling and Analysis

- Permit No. 82-02 (approved by DEQ July 7, 2023), https://perma.cc/ R78V-5XTX; (2) GFL's June 28, 2023 Response
to Comments and Revised PFAS Work Plan for PFAS Sampling and Analysis - Permit No. 82-01 (Approved by DEQ
July 7, 2023) https://perma.ccmJL-QJ8D; (3) GFL's February 15, 2024 Jnitial Site Assessment Work Plan (approved
by DEQ February 21, 2024), and (4) GFL's July 29, 2024 Secondary Site Assessment Work Plan (pending DEQ
approval).

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       Numbers 82-01 and 82-02, and any new waste cells opened by GFL

       under NC Solid Waste Permit Number 82-02, or new permits, which

       are located at 7434 Roseboro Highway in Roseboro, North Carolina,

       and excludes the landfill cells maintained by Sampson County under

       Permit 82-01.

 29.   "Snow Hill Community" is a neighborhood located in rural Roseboro,

       North Carolina. For the purpose of this Consent Decree, the geographic

       boundaries of the Snow Hill Community are set forth in Exhibit 1.

 30.   "Special Order by Consent" or "SOC" means an order issued by DEQ

       to an entity that has accepted responsibility for causing or contributing

       to pollution of waters of the State which temporarily authorizes interim

       corrective measures aimed at achieving compliance with environmental

       laws. See N.C. Gen. Stat.§ 143-215.2; N.C. Admin. Code 02H .1200 et

       seq.

 31.   "Special Waste" means solid wastes that can require special handling

       and management, including white goods, whole tires, used oil, lead-

       acid batteries, and medical wastes. See N.C. Gen. Stat. § 130A-

       290(a)(40).




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                         IV.    INJUNCTIVE RELIEF

A.    Remedial Investigation & Pollution Prevention

      32.   Emissions Monitoring System and Odor Mitigation. Within ninety

            (90) days of the Effective Date, the Parties shall jointly select, and GFL

            will, at its sole expense, retain an independent, third-party consultant

            ("Consultant") to design and implement a continuous emissions

            monitoring system around the perimeter of the Landfill. The

            development, implementation, and other costs related to the system

            shall be financed by GFL. Taking into account the recommendations of

            the Consultant, the placement of the system's monitoring stations shall

            be mutually agreed to by the Parties. Monitoring stations shall be

            located to isolate emissions originating primarily from the Landfill (as

            opposed to from nearby industrial hog operations). Taking into account

            the recommendations of the Consultant, the Parties shall determine

            reasonable emissions standards. All data collected from the continuous

            emissions monitoring system will be contemporaneously made public

            on the Community Landfill Website maintained by GFL.

      33.   The initial monitoring period for the continuous emissions monitoring

            system shall last three-hundred-and-sixty-five (365) days.


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34.    Within sixty (60) days of the conclusion of the initial monitoring period,

       the Consultant shall issue a report identifying the sources of any

       actionable fugitive emissions and recommending emission and odor

       reduction measures.

 35.   Within ninety (90) days of the Consultant delivering this report to the

       Parties, GFL shall, to the maximum extent practicable, implement the

       recommended emission and odor reduction measures.

 36.   During the initial monitoring period, GFL shall respond to and

       meaningfully address odor complaints raised by community members

       and/or by EJCAN. GFL shall use one or more of the following odor

       reduction strategies to address these complaints: enhanced management

       of odorous waste streams (e.g. dead animals, food waste), odor

       management in construction areas, and enhanced daily and interim

       cover practices.

 37.   Drone Surface Emissions Monitoring. Within ninety (90) days of the

       Effective Date, GFL sha11 have submitted a request to EPA to change

       its required methane emissions monitoring technique from on-foot

       monitoring to EPA-approved drone surface emissions monitoring to

       identify fugitive methane emissions at the Landfill. Once approved, and

       subject to the EPA-approved vendor's availability, GFL shall
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            implement and continue this monitoring for the Operational Life of the

            Landfill. GFL shall share the results of this monitoring with EJCAN on

            a semi-annual basis and shall stop methane leaks or other sources of

            fugitive emissions identified through this monitoring in a timely

            manner.

B.    Treatment of PFAS Discharges & Treatment Standards

      38.   Interim GGI Treatment Standards and Permitting. GFL shall

            continue to diligently pursue and make all best efforts to obtain a

            Special Order by Consent ("SOC") from DEQ permitting the temporary

            treatment of discharge from GGI Outfalls 1 and 2.

      39.   As part of this process, GFL shall request that DEQ impose enforceable

            removal standards and/or eftluent limitations in the SOC that meet or

            exceed the following:

            a. Start-up through two (2) months: 50% removal standard for PFOA,

               PFOS, Gen-X, PFHxS, and PFNA (subject to EPA limits of

               quantitation for EPA Method 53 7.1 Modified).

            b. Three (3) months to one (1) year: 80% removal standard for PFOA,

               PFOS, Gen-X, PFHxS, and PFNA (subject to EPA limits of

                quantitation for EPA Method 537.1 Modified).


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       c. Greater than one (1) year: achieve EPA MCLs for PFOA, PFOS,

          HFPO-DA (Gen-X), PFHxS, and PFNA (subj ect to EPA limits of

          quantitation for EPA Method 537.1 Modified).

 40.   In the event that DEQ issues an SOC or otherwise permits an interim

       treatment system for discharges from the GGI Outfalls without these

       minimum removal standards or effluent limits, as applicable, GFL shall

       ensure that discharges from the GGI Outfalls meet the standards set

       forth herein.

 41.   In the event that DEQ refuses to issue an SOC or otherwise permit the

       interim GGI Outfall treatment system, GFL shall, within 90 days after

       any such refusal, apply for a NPDES permit for the GGI Outfalls. In

       any application, GFL shall request that DEQ include, at a minimum,

       enforceable effluent limits in the NPDES permit for PFOA, PFOS,

       HFPO-DA (Gen-X), PFHxS, and PFNA equal to EPA's MCLs for these

       compounds.

 42.   Permanent GGI Treatment Standards and Permitting. Unless GFL

       has moved forward under the conditions in paragraph 41, once GFL's

       discharges from the GGI Outfalls consistently satisfy the standards set

       forth in Paragraph 39(c), GFL shall apply for a NPDES permit

       applicable to the discharges at GGI Outfall 1 and Outfall 2. GFL shall

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       request that DEQ include, at a minimum, enforceable effluent limits in

       the NPDES permit for PFOA, PFOS, Gen-X, PFHxS, and PFNA equal

       to EPA's MCLs for these compounds.

 43.   Leachate Treatment System Permitting. GFL shall continue to

       diligently pursue and make its best efforts to obtain a NPDES permit

       from DEQ for the proposed discharge from its leachate treatment

       reverse osmosis system. Within sixty (60) days of the Effective Date,

       GFL shall request in writing that DEQ include enforceable effluent

       limitations in any NPDES permit issued for the leachate treatment

       reverse osmosis system equal to EPA's MCLs for the following

       constituents: PFOA, PFOS, HFPO-DA (Gen-X), PFHxS, and PFNA.

       GFL shall also include this request for enforceable eflluent limitations

       equal to EPA's MCLs for PFOA, PFOS, HFPO-DA (Gen-X), PFHxS,

       and PFNA in any subsequent permit application (including

       amendments or renewals) for the leachate treatment reverse osmosis

       system. During this permitting process, GFL shall keep EJCAN

       apprised of communications with DEQ and agrees to take any input

       from EJCAN into consideration.

 44.   Restriction on New Special Waste Contracts. As of the Effective

       Date, GFL shall decline any and all new contracts for the acceptance at

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            the Landfill of the following: (1) soils and other materials associated

            with PFAS remediation projects generated from military bases, and (2)

            PFAS-containing fire-fighting foams or residue, until such a time that

            the permanent treatment system for the GGI Outfalls and leachate

            reverse osmosis treatment system are operational and in compliance

            with the standards set forth in Paragraphs 42 and 43.

C.    Community Engagement & Accountability

      45.   Information Sharing. As of the Effective Date, GFL shall take the

            following measures to increase transparency, engagement, and

            accountability regarding matters at the Landfill that impact the Snow

            Hill Community and EJCAN members:

      46.   Until such time as the reverse osmosis leachate treatment system and

            the permanent GGI treatment system are consistently meeting the

            discharge standards set forth in Paragraphs 42 and 43 for a period of

            four (4) years, GFL shall share with EJCAN, through counsel and

            concurrently with transmission, all materials and communications

            related to PFAS at the Landfill that GFL transmits to DEQ and/or that

            DEQ transmits to GFL. This includes but is not limited to documents

            related to the PFAS Work Plan, sampling results, and GGI and leachate

            treatment system permitting documents. GFL shall make reasonable
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       efforts to deliver these materials to EJCAN prior to submission to DEQ

       and shall, in good faith, take EJCAN and/or EJCAN's consultants' input

       into consideration prior to submitting documents to DEQ.

 47.   GFL shall make its Special Waste Consultant, who reviews sampling

       data from special waste streams and confirms the material meets the

       permit requirements for disposal at the Landfill along with any special

       handling required, available for discussion with EJCAN and/or its

       consultants upon request. GFL shall also share information regarding

       the review and approval process for special waste on the Community

       Landfill Website. Upon request of EJCAN, the Special Waste

       Consultant shall attend one community meeting in Snow Hill

       (described in Paragraph 52) and shall be available to answer questions

       from the community.

 48.   Semi-Annual Compliance Report. Semi-annually, and beginning

       one-hundred-and-eighty (180) days after the Effective Date, until such

       time as the reverse osmosis leachate treatment system and the

       permanent GGI treatment system are consistently meeting the

       discharge standards set forth in Paragraphs 42 and 43 for a period of

       four (4) years, GFL shall share with EJCAN, through counsel, a report

       detailing GFL's compliance with this Consent Decree, the actions GFL

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       has taken to carry out its obligations detailed herein, and any

       deficiencies or failures to comply. In the event of any deficiencies or

       failures to comply, the report will include an explanation and proposed

       plan to come into compliance with this Consent Decree.

 49.   Truck Policy. GFL shall, within thirty (30) days of the Effective Date,

       post its truck access policy in public view at the Landfill's scalehouse.

       The policy shall state that customer access to the Landfill is limited

       solely to the gate on Highway 24. GFL shall also request truck traffic

       (1) not to access the gate on Highway 24 through the Snow Hill

       Community, and (2) not to line up outside of the gate outside of the

       Landfill 's operating hours.

 50.   Emergency Management Plan and Emergency Alert System. GFL

       shall use its best efforts to urge local emergency management personnel

       to develop a community evacuation plan in the event of an emergency

       at the Landfill. Subject to obtaining access to phone numbers, GFL shall

       institute a "robocall" system (calls and texts) for people who live within

       two (2) miles of the Landfill. This system will be used solely to alert

       community members in the event of an emergency at the Landfill that

       may impact public safety or prompt the need for evacuation.



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 51.    Community Engagement and Complaint Process. GFL shall use its

        best efforts to provide meaningful engagement opportunities with

        residents of the Snow Hill Community and keep the community

        informed of activities at the Landfill, including but not limited to

        progress on the PFAS Work Plan, results of the emissions monitoring

        system (Paragraph 32), and odor management efforts. This

        commitment shall include, but is not limited to the following actions:

 52.    GFL shall attend quarterly, in-person community meetings in the Snow

        Hill Community coordinated with Snow Hill residents and/or EJCAN.

        The initial such meeting shall be held within sixty (60) days of the

        Effective Date and the first two such meetings will be treated as

        confidential and will only be open to the Parties and their counsel, Snow

        Hill Community residents, and EJCAN members.

 53.    Within ninety (90) days of the Effective Date, GFL shall establish and

        fund an unmanned hotline to receive complaints or concerns related to

        the Landfill.

  54.   Within one hundred twenty (120) days of the Effective Date, GFL shall

        establish and maintain a public website, the Community Landfill

        Website, that community members can access for the latest information

        on Landfill matters that impact the community; provided however, that
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        GFL may request an extension as long as it is working diligently and in

        good faith towards meeting the deadline and can demonstrate that the

        delay is outside of GFL's reasonable control, such as due to its third-

        party vendor's or consultant's availability. The Community Landfill

        Website shall include a tab or window for community members to

        submit complaints related to the Landfill.

 55.    GFL shall respond to Landfill-related complaints submitted through the

        hotline or the Community Landfill Website within seven (7) business

        days indicating, to the best ofits ability, the source of the issue and steps

        GFL will take to address the complaint. GFL's responses to complaints

        and description of steps being taken to address each complaint shall be

        regularly posted on the Community Landfill Website.

  56.   No later than the date upon which the Community Landfill Website is

        active, GFL shall establish an internal complaint response and

        escalation process to ensure that community complaints are

        meaningfully addressed within seven (7) business days. This process

        will be shared with EJCAN and posted on the Community Landfill

        Website on the same tab or window used to submit complaints related

        to the Landfill.



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D.    Diversion of Waste

      57.   School Recycling and Composting Program. Within one hundred and

            twenty (120) days of the Effective Date, GFL shall establish a school

            recycling and composting program in at least ten (10) public schools in

            Sampson County and fund a recycling and composting-related

            curriculum in these schools through the end of the 2027-2028 school

            year. Thereafter, GFL will offer to continue the recycling program at a

            rate to be negotiated with the school system.

      58.   Recycling Campaign. Within one hu ndred and twenty (120) days of

            the Effective Date, GFL shall fund and initiate a public campaign in

            Sampson County to encourage recycling.

E.    Conservation

      59.   Wetland Conservation. Within one hundred and eighty (180) days of

            the Effective Date, GFL shall place the thirty (30) acres of wetlands

            currently owned by GFL at the Roseboro Mine site (Attached as Exhibit

            2) into trust through a conservation easement.




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F.    Community Benefits

      60.   GFL shall provide benefits to the Snow Hill Community consistent with

            the terms of the confidential Community Benefit Settlement

            Agreement.


                                 V.      RELEASE

      61.   For the consideration herein and other good and valuable consideration,

            EJCAN hereby waives, releases, discharges, and covenants not to sue

            GFL for any and all claims which were alleged or could have been

            alleged in the Litigation.


                             VI.      OTHER TERMS

      62.   Effect of Consent Decree. This Consent Decree resolves all claims

            which were alleged or could have been alleged against GFL by EJCAN

            in the Litigation, and all such claims shall be deemed to be dismissed

            with prejudice. This Consent Decree in no way affects or relieves GFL

            from its responsibility and obligation to comply with Federal, State and

            local laws or regulations and applicable permits.

      63.   Administrative Review. The Parties acknowledge, agree, and notify

            the Court that, pursuant to 33 U.S.C. § 1365(c)(3), this Consent Decree

            cannot be entered or effective prior to forty-five (45) days following the
                                         24

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       receipt of this Consent Decree by the Attorney General and the EPA

       Administrator. Therefore, upon execution of this Consent Decree by the

       Parties, Plaintiff shall serve copies of the Consent Decree upon the U.S.

       Attorney General, EPA Administrator, and EPA Regional Administrator

       in accordance with 40 C.F.R. § 135.5. The Parties shall also jointly

       lodge the Consent Decree with the Court upon execution. Upon

       expiration of the 45-day review period, so long as the reviewing

       authorities do not object to the entry of this Consent Decree, the Parties

       shall j oi ntl y move the Court for entry of the Consent Decree and notify

       the Court regarding dates upon which the EPA Administrator and

       Attorney General received copies pursuant to 40 C.F.R. § 135.5(b).

 64.   No Admission of Liability or Fault. By entering into this Consent

       Decree, GFL denies and does not admit to liability, fault or wrongdoing.

 65.   Continuing Jurisdiction. The United States District Court for the

       Eastern District of North Carolina shall have continuing jurisdiction to

       interpret and enforce the terms and conditions of this Consent Decree

       and to resolve disputes arising hereunder, and for such other and further

       actions as may be necessary or appropriate in the construction or

       execution of the Consent Decree.



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 66.   Effect of Entry or Lack of Entry. Upon entry by the Court, this

       Consent Decree resolves all claims which were alleged against GFL by

       EJCAN in the Litigation and the Litigation shall be dismissed with

       prejudice. If for any reason the reviewing authorities object to this

       Consent Decree and/or the Court refuses to approve and/or enter this

       Consent Decree in the form presented, the Parties shall retain all rights

       they had in this litigation before lodging of this Consent Decree. In the

       event that the Court refuses to approve and/or enter this Consent Decree

       in the form presented, or in the event the United States proposes

       modifications to this Decree, the Parties shall negotiate in good faith in

       an attempt to resolve such objection and/or refusal by the Court;

       however, the Parties reserve and shall retain all rights to object to any

       modification proposed by the United States, or any other person or

       entity.

 67.   Entire Agreement. The Parties have reached an independent

       confidential Community Benefit Agreement related to these matters.

       This Consent Decree, along with the independent Community Benefit

       Settlement Agreement, constitutes the entire agreement among the

       Parties concerning the subject matter hereof and supersedes all previous



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       correspondence, communications, agreements and understandings,

       whether oral or written, among the Parties or their representatives.

 68.   Modification. This Consent Decree may be modified or amended only

       by an Order of Court, made upon a written joint request of the Parties.

 69.   Authorization. Each Party represents and warrants that the person

       signing this Consent Decree on behalf of such Party is duly authorized

       to enter into this Consent Decree on the Party's behalf.

 70.   Successors and Assigns. This Consent Decree shall be binding upon

       and inure to the benefit of the Parties and their respective successors

       and assigns.

 71.   Notices/Dispute Resolution. The Parties shall provide one another

       with thirty (30) days written notice and opportunity to cure any alleged

       breach of this Consent Decree before commencing an action to enforce

       this Consent Decree. Such notice shall be given to all counsel of record,

       as reflected on the Court's docket report, and may be given via email.

       If the Parties cannot reach an agreed resolution within thirty (30) days

       after the receipt of notice by the other Party, then the Parties agree to

       commence mediation of the dispute in good faith no later than seventy-

       five (75) days after the receipt of the notice. A Party may petition the


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       District Court to (a) resolve the dispute; (b) designate a mediator for

       good cause shown if the Parties cannot agree on a mediator mutually

       agreeable to the Parties; or (c) seek to enforce the Consent Decree only

       where a mediation was conducted in good faith and is unsuccessful.

 72.   Counterparts. This Consent Decree may be signed in counterparts.

       Facsimile, electronic and scanned signatures or copies of this Consent

       Decree shall be effective as originals for all purposes.


                    ENTERED this         £_ day of December, 2024.

                                                               Jj
                                         .onorable Terrence W. Bcptle
                                   Judge, United States District Court
                                   Eastern District of North Carolina




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                  Exhibit 1
       Snow Hill Community Map




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Snow Hill Community Boundary

                                                                                               Concord School Rd


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                  Exhibit 2
       Wetland Conservation Map




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                                                                                                       Exhibit,2

                                                                                Wetla_nd Conservation MaQ

Full parcel:




Approx 30 acre portion to be put into conservation in purple below:
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